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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF LOUISIANA

In Re: Oil Spill by the Oil Rig “Deepwater           *    MDL NO. 2179
       Horizon” in the Gulf Of Mexico, on            *
       April 20, 2010                                *    SECTION: J
                                                     *
     This document relates to:                       *
                                                     *
             Nos. 12-970, 15-4143,                   *    HONORABLE CARL J. BARBIER
                  15-4146 and 15-4654                *
                                                          MAGISTRATE JUDGE
                                                     *
                                                          WILKINSON
                                                     *
                                                     *
                                                     *
                                                     *
                                                     *



                                            ORDER

       CONSIDERING the Unopposed Motion for Approval of Payment from Escrow Accounts,

together with the record of these proceedings, and the requirements of law:


       IT IS HEREBY ORDERED that the Escrow Agent is hereby authorized and directed to pay

the following notice and other administrative expenses incurred in connection with the

Settlement and Notice Plan:


       1) Kinsella Media a total of Five Thousand and Six Hundred and Sixty Two Dollars

           and Fifty Cents ($5,662.50) from the Transocean Settlement Fund and the Halliburton

           Settlement Fund on a pro rata basis, (specifically $4,694.21 out of the Halliburton

           Settlement Fund and $968.29 out of the Transocean Settlement Fund); and,
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            2) Garden City Group, LLC, a total of Eight Hundred Ninety Five Thousand and Four

               Hundred and Sixty Two Dollars and Sixty Four Cents ($895,462.64) from the

               Transocean Settlement Fund and the Halliburton Settlement Fund on a pro rata basis,

               (specifically $742,338.53 out of the Halliburton Settlement Fund and $153,124.11 out

               of the Transocean Settlement Fund); and,


            3) Juneau David a total of Sixty Seven Thousand and Three Hundred and Fourteen

               Dollars and Seventy Five Cents ($67,314.75) from the Transocean Settlement Fund

               and the Halliburton Settlement Fund on a pro rata basis, (specifically $55,803.93 out

               of the Halliburton Settlement Fund and $11,510.82 out of the Transocean Settlement

               Fund).



            New Orleans, Louisiana this _______ day of ____________, 2016.



                                                        _____________________________________
                                                                Hon. Carl J. Barbier




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1274213.2
